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 8
 9                                   UNITED STATES DISTRICT COURT
10                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
11                                          (SAN JOSE DIVISION)
12 MERKLE, INC., a Maryland corporation,                  Case No. 5:18-cv-6998
13                      Plaintiff,                        COMPLAINT FOR:
14           v.                                           (1) BREACH OF CONTRACT FOR
                                                          FAILURE TO PAY OUTSTANDING
15 HEALTH IQ INSURANCE SERVICES,                          FEES AND COSTS
   INC., a New York corporation,
16                                                        (2) UNJUST ENRICHMENT
               Defendants.
17                                                        (3) SPECIFIC PERFORMANCE TO
                                                          COMPLY WITH DATA
18                                                        DESTRUCTION AND RETURN
                                                          REQUIREMENTS
19
                                                          (4) IN THE ALTERNATIVE, BREACH
20                                                        OF CONTRACT FOR FAILURE TO
                                                          COMPLY WITH DATA
21                                                        DESTRUCTION AND RETURN
                                                          REQUIREMENTS
22
                                                          DEMAND FOR JURY TRIAL
23
24
25                      Plaintiff Merkle, Inc. (“Merkle” or “Plaintiff”) alleges the following facts
26 and claims against Defendant Health IQ Insurance Services, Inc. (“Health IQ” or
27 “Defendant”).
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 1                                   JURISDICTION AND VENUE
 2                      1.   This Court has jurisdiction over this action under 28 U.S.C. § 1332
 3 because there is diversity of citizenship between the Plaintiff, which is a citizen of
 4 Maryland, and Defendant, which is a citizen of New York and California. In addition, the
 5 amount in controversy exceeds $75,000.00, exclusive of interest and costs.
 6                      2.   The United States District Court for the Northern District of
 7 California (San Jose Division) is the proper venue for this action because Defendant is
 8 headquartered in Mountain View, California.
 9                                            THE PARTIES
10                      3.   Plaintiff Merkle, Inc. is a Maryland corporation with its principal
11 office located in Columbia, Maryland.
12                      4.   Defendant Health IQ Insurance Services, Inc. is a New York
13 corporation with its principal office located at Mountain View, California.
14                                    GENERAL ALLEGATIONS
15                      5.   Merkle incorporates by reference the preceding allegations of this
16 Complaint.
17                      6.   On or around February 1, 2018, Merkle and Health IQ entered into a
18 Master Services Agreement (“MSA”) pursuant to which Merkle agreed to provide
19 marketing services to Health IQ in exchange for payment. A true and correct copy of the
20 MSA and Addendum No. 1 is attached as Exhibit A, and is incorporated here by
21 reference.
22                      7.   The Parties also entered into a related Statement of Work (“SOW”)
23 dated March 1, 2018. A true and correct copy of the SOW is attached as Exhibit B, and is
24 incorporated here by reference. The MSA and SOW shall collectively be referred to as the
25 “Agreements”). Merkle commenced its work for HealthIQ shortly after the parties
26 executed the Agreements.
27                      8.   Merkle performed under the Agreements until early August of 2018.
28 On August 11, 2018, Health IQ sent Merkle a purported “notice of termination” of the

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 1 SOW. A true and correct copy of the letter is attached as Exhibit C, and is incorporated
 2 here by reference.
 3                      9.    In the notice, Health IQ claimed Merkle breached the SOW by failing
 4 to provide services it promised to provide. Health IQ further claimed that it was relieved
 5 of its obligation to pay for Merkle’s monthly retainer and creative costs.
 6                      10.   Health IQ’s purported notice of termination, however, was defective
 7 as it failed to provide the notice and opportunity to cure required by the MSA. Moreover,
 8 none of the alleged breaches identified by Health IQ in the notice were actually breaches.
 9 Merkle did not breach the Agreements.
10                      11.   At the time Health IQ sent Merkle the termination notice discussed
11 above, Merkle had invoiced Health IQ $1,683,404.00, which remained unpaid. Per
12 Paragraph 3.2 of the MSA, “Invoices will be deemed to be correct and acceptable to
13 [Health IQ] unless [Health IQ] advises Merkle in writing (each, a “Dispute Notice”) of the
14 disputed items on the Invoice (a “Disputed Amount”) within sixty (60) calendar days
15 following [Health IQ]’s receipt of the applicable invoice.” Further, “[u]nless otherwise
16 agreed to in the applicable Statement of Work, any invoice or portion of an invoice with
17 respect to which Merkle has not received a Dispute Notice (“Undisputed Amount”), shall
18 be paid by [Health IQ] to Merkle within thirty (30) calendar days following the date of
19 such invoice.” Until Health IQ sent the termination notice discussed above, Health IQ
20 provided no Dispute Notices pursuant to the Agreements. True and correct copies of all
21 invoices Merkle provided to Health IQ are attached collectively as Exhibit D, and are
22 incorporated here by reference.
23                      12.   On September 11, 2018, Merkle’s counsel sent Health IQ a demand
24 letter and remaining invoices for the balance of the amounts Health IQ owes to Merkle. A
25 true and correct copy of the letter is attached hereto as Exhibit E, and is incorporated here
26 by reference.
27                      13.   In the demand letter, Merkle’s counsel informed Health IQ that it had
28 no defense to payment of the amounts due under the Agreements.

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 1                      14.   In particular, per the Agreements, Merkle agreed to provide marketing
 2 services to Health IQ in exchange for payment. Merkle made no guarantee of any results
 3 under the Agreements and, with only minor exceptions, the Agreements were not
 4 deliverables-based. Instead, the Agreements provided that Merkle would furnish Health
 5 IQ with certain services and obligated Health IQ to pay for them. Indeed, paragraph 3.1(e)
 6 of the SOW specifically states that “[t]he scope of services in this SOW is not
 7 deliverables-based, so even though Merkle may provide deliverables to [Health IQ],
 8 payments or SOW completion will not be subject to any solution or deliverable
 9 acceptance.”
10                      15.   There are no terms in the Agreements that guarantee response rates to
11 the marketing program implemented by Merkle.
12                      16.   Notably, when Health IQ attempted to include a performance
13 guarantee in the Agreements when they were being negotiated, Merkle refused.
14                      17.   In addition, the MSA contains an integration clause in paragraph
15 10.13, and therefore any statements that preceded its execution are of no relevance.
16                      18.   Merkle significantly overdelivered on its obligations under the SOW
17 by providing new creatives, three major modifications, and six moderate modifications.
18                      19.   However, to date, Health IQ has not made any payments on the
19 outstanding fees and expenses in the amount of $2,487,010.19.
20                      20.   Further, the Agreements also require Health IQ to cease use of
21 Merkle’s data and provide a written certification to Merkle that it has ceased use of,
22 returned, and/or destroyed all of Merkle’s data (“Data Certification”).
23                      21.   In particular, Section 4(1) of the SOW requires Health IQ to (a) cease
24 all use of DataSource Data; (b) remove from its files, computers and systems, all copies of
25 DataSource Data; and (c) return DataSource Data to Merkle (or Licensee, if so requested
26 by Merkle) and/or destroy all copies of DataSource Data, providing written certification of
27 such to Merkle.
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 1                      22.   Section 3.6.5 of Addendum No. 1 to the MSA states, “Upon
 2 termination of the Agreement or applicable SOW covering the Data or Data Services: . . .
 3 the Other Party shall (i) immediately discontinue all use of that Party’s Data; (ii) delete all
 4 that Party’s Data from its files and computer systems, and return to that Party all copies,
 5 partial copies and any documentation or materials evidencing that Party’s Data, and
 6 (iii) certify to that Party in writing that the foregoing has been completed.”
 7                      23.   In the letter dated September 11, 2018, attached hereto as Exhibit E,
 8 Merkle’s counsel requested Health IQ to complete and return a Data Certification, entitled
 9 “Certification of Return and/or Destruction of Merkle DataSource Data.”
10                      24.   However, to date, Health IQ has failed to complete and return the
11 Data Certification.
12                                     FIRST CAUSE OF ACTION
13                                      BREACH OF CONTRACT
14                 FOR FAILURE TO PAY OUTSTANDING FEES AND COSTS
15                      25.   Merkle incorporates by reference the preceding allegations of this
16 Complaint.
17                      26.   Merkle and Health IQ entered into the Agreements pursuant to which
18 Merkle agreed to provide marketing services to Health IQ in exchange for payment.
19                      27.   Merkle performed all of its obligations under the Agreements. In fact,
20 Merkle significantly overdelivered on its obligations under these sections by providing
21 three new creatives, three major modifications and moderate modifications. Nevertheless,
22 Merkle only billed Health IQ the agreed-upon price for this work despite substantially
23 overperforming.
24                      28.   Health IQ breached the Agreements by failing to pay Merkle
25 $2,487,010.19 in outstanding fees and expenses through September 10, 2018.
26                      29.   Merkle has suffered damages as a result of Health IQ’s breach and is
27 entitled to damages in the amount of $2,487,010.19, plus interest.
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 1                                    SECOND CAUSE OF ACTION
 2                                       UNJUST ENRICHMENT
 3                      30.   Merkle incorporates by reference the preceding allegations of this
 4 Complaint.
 5                      31.   Merkle has provided the marketing services it agreed to provide per
 6 the Agreements and also incurred direct out-of-pocket costs and expenses. Moreover,
 7 Merkle significantly overdelivered on its obligations under the SOW.
 8                      32.   Health IQ benefitted from those services at Merkle’s expense.
 9 However, Health IQ refuses to pay Merkle for those services.
10                      33.   Equity and good conscience require restitution in the amount of
11 $2,487,010.19, plus interest.
12                                     THIRD CAUSE OF ACTION
13                                     SPECIFIC PERFORMANCE
14     TO COMPLY WITH DATA DESTRUCTION AND RETURN REQUIREMENTS
15                      34.   Merkle incorporates by reference the preceding allegations of this
16 Complaint.
17                      35.   Merkle and Health IQ entered into the SOW and MSA.
18                      36.   Merkle has fully performed all of its contractual obligations under the
19 Agreements to date, and is ready, willing and able to perform any outstanding obligations,
20 if any.
21                      37.   However, Health IQ has failed to certify that it has (a) ceased all use
22 of DataSource Data; (b) removed from its files, computers and systems, all copies of
23 DataSource Data; and (c) returned DataSource Data to Merkle (or Licensee, if so requested
24 by Merkle) and/or destroyed all copies of DataSource Data, providing written certification
25 of such to Merkle. It is within Health IQ’s power to do so.
26                      38.   Even if costs could be calculated with any reasonable certainty, there
27 is no adequate remedy at law because the data at issue includes proprietary information
28 regarding Merkle’s technology and other confidential information that needs to be secured.

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 1                      39.   Thus, Merkle is entitled to a judgment requiring Health IQ to
 2 specifically perform its obligations under the Agreements.
 3                                    FOURTH CAUSE OF ACTION
 4                                      (IN THE ALTERNATIVE)
 5                                      BREACH OF CONTRACT
 6       FOR FAILURE TO COMPLY WITH DATA DESTRUCTION AND RETURN
 7                                           REQUIREMENTS
 8                      40.   Merkle incorporates by reference the preceding allegations of this
 9 Complaint.
10                      41.   Merkle and Health IQ entered into the SOW and MSA.
11                      42.   Merkle performed all of its obligations under both Agreements.
12                      43.   However, Health IQ breached Section (4) of the SOW and Section
13 3.6.5 of Addendum No. 1 to the MSA by failing to provide a Data Certification to Merkle,
14 confirming that it complied with Merkle’s data destruction and/or return requirements.
15                      44.   Merkle has suffered damages as a result of Health IQ’s breach and is
16 entitled to damages in an amount to be proven at trial.
17                                            JURY DEMAND
18                      Merkle demands a jury trial.
19                                                PRAYER
20                      WHEREFORE, Merkle prays for judgment as follows:
21                      1.    For damages in the amount of $2,487,010.19, plus interest;
22                      2.    For specific performance requiring immediate compliance with
23 Section 4(1) of the SOW and Section 3.6.5 of Addendum No. 1 to the MSA and delivery
24 of written certification of compliance to Merkle;
25                      3.    For fees, costs and expenses incurred (including, without limitation,
26 attorneys’ fees, costs and expenses incurred) in an amount to be proven at trial; and
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 1                      3.   For any other relief the Court deems appropriate.
 2
 3 Dated: November 19, 2018
 4                                       SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
 5
                                         By                     /s/ J. Barrett Marum
 6
                                                              J. BARRETT MARUM
 7                                                                  LISA S. YUN

 8                                                            Attorneys for Plaintiff
 9                                                               MERKLE, INC.

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